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                    UNITED STATES DISTRICT COURT
         FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                               Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:16−cr−00590
                                                           Honorable Gary Feinerman
Marco Proano
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 23, 2017:


         MINUTE entry before the Honorable Gary Feinerman:as to Marco Proano. Jury
trial held and continued to 8/24/2017 at 9:30 a.m. Mailed notice. (jlj, )




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